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                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF ILLINOIS

  DONNELL LEWIS, JR.,                        )
                                             )
                  Plaintiff                  )
                                             )
                     v.
                                             )    No: 11-CV-00579-GPM-DGW
  OFFICER JOHN CLEMONS, SGT.                 )
  RICK, CAPT. BROWN, Unknown                 )
  Supervisor, all of the UNION PACIFIC       )
  RAILROAD POLICE, and Unknown St.           )
  Clair County Booking Officer,              )
                                             )
                Defendants                   )


              FED.R.CIV.P.12(b)(6) MOTION TO DISMISS OR STRIKE


       NOW COMES Ricky Davis sued as “Sgt. Rick” by his attorney James C. Cook

 of Walker and Williams P.C. moving pursuant to Fed.R.Civ.P.12(b)(6) that Counts I,

 IV and V of plaintiff’s complaint (Doc. 1) filed July 1, 2011 and plaintiff’s prayers for

 injunctive relief and punitive damages be dismissed or stricken for failure to state a

 claim upon which relief can be granted on the following grounds:

       1.     In Count I, plaintiff alleges that following his arrest by Union Pacific

 Police Officer John Clemons on February 3, 2010 for trespassing on or burglary of a

 freight train he was detained at the St. Clair County Illinois Jail without being given

 an opportunity to post bond or being afforded a probable cause hearing during the

 48-hour window following his arrest. Count I does not allege facts sufficient to

 support recovery from this defendant. An arrestee may be detained for up to 48

 hours following a warrantless arrest without violating the Fourth Amendment.

 There is no constitutional requirement of a probable cause hearing in all cases.
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 Plaintiff does not allege an extended detention in excess of 48 hours, but instead

 claims:

       “Hours later, Officer Clemons appeared at the holding cell door
       demanding that I sign a Union Pacific citation for trespassing, a charge
       that was subsequently stricken off call with leave to reinstate, as a
       condition of him releasing me. Not aware at the time that my 4th and
       5th amendment rights had been violated, I signed and was released
       about 20 minutes later without even being required to post bond.”
       (Emphasis added.) (Doc. 1, p.7)

 Plaintiff further alleges that the criminal charge was fabricated by Officer Clemons,

 which is the gist of his claim. Plaintiff does not assert in Count I an actionable claim

 under the Fourth Amendment against Ricky Davis for detention in excess of 48 hours

 without a probable cause hearing, or other actionable claim.

       2.     In Count IV, plaintiff alleges a procedural due process violation for the

 asserted failure to take him before Judicial Officer for a probable cause hearing. (a)

 Count IV should also be dismissed for the reason stated above that he does not allege

 detention exceeding 48 hours. (b) In addition, procedural due process is not a proper

 basis for the claim asserted in Count IV.         Rather, protections of the Fourth

 Amendment apply between the time of arrest through the probable cause hearing.

 Due process thereafter governs a pre-trial detainee’s conditions of confinement

 following the judicial determination of probable cause. A procedural due process

 claim cannot be maintained here.       (c) Count IV is duplicative of Count I and

 unnecessary as it alleges the same claim albeit under a different, flawed theory.

 Neither Count I nor Count IV allege facts sufficient to support recovery from this

 defendant under any legal theory.
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       3.     In Count V, plaintiff alleges a claim of “supervisory liability” or

 respondeat superior liability against this defendant for allegedly taking part in and

 failing to prevent a civil rights violation. (Doc. 1, p. 10). The doctrine of respondeat

 superior or supervisory liability does not apply to section 1983 actions. In order to

 be held individually liable, a defendant like Ricky Davis must be personally or

 directly responsible for deprivation of a constitutional right which has not been

 alleged here. Count V should be dismissed to the extent it seeks to impose liability

 on Davis under the doctrine of respondeat superior, and to the extent it seeks to

 impose liability on him for conduct in which he did not participate, did not knowingly

 condone or ratify, or direct even implicitly such as through a policy he promulgated.

 Liberally construed, in Count V plaintiff at best only claims an isolated violation by

 another Police Officer, not by Ricky Davis.

       4.     Plaintiff is not entitled to permanent injunctive relief against defendant

 Davis who is no longer employed by the Union Pacific Railroad Police Department.

 (a) The injunction plaintiff seeks would require Union Pacific Railroad Police to take

 arrestees before Judicial Officers for probable cause determinations more quickly

 than required by Illinois law or the United States Constitution. Since Ricky Davis

 is no longer employed by the Union Pacific Police Department, such an injunction if

 granted would be meaningless as to him, or moot. (b) Moreover, plaintiff lacks

 standing to obtain equitable or injunctive relief because there is no actual case or

 controversy on which the request for injunctive relief is based. Plaintiff has not
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 alleged he sustained or is in immediate danger of direct injury as a result of the

 challenged conduct or any future conduct of Davis. His injury or the threat of injury

 must be both real and immediate, not conjectural, hypothetical or speculative. (c)

 Thirdly, there are available State and Federal remedies at law providing adequate

 relief for the “future” wrongful conduct asserted by plaintiff including the remedy for

 compensatory damages and other relief under 42 USC §1983.

        5.      Punitive damages as sought by plaintiff may not be awarded under 42

 USC §1983 against defendant Davis in his official capacity as a Union Pacific Police

 Officer.    Punitive damages are also not recoverable from Davis individually as

 plaintiff has not charged Davis with an actionable violation of the U. S. Constitution.

        WHEREFORE, Ricky Davis sued as “Sgt. Rick” prays pursuant to

 Fed.R.Civ.P.12(b)(6) that Counts I, IV and V and the relief sought therein be stricken

 or dismissed as to this defendant, or for such other relief as the Court deems

 appropriate.

                                                RICKY DAVIS


                                                By: s/James C. Cook
                                                James C. Cook
                                                Walker and Williams, P.C.
                                                4343 West Main Street
                                                Belleville, Illinois 62226
                                                (618) 277-1000
                                                Fax: (618) 233-1637
                                                Email: jcc@wawpc.net




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                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF ILLINOIS

  DONNELL LEWIS, JR.,                      )
                                           )
                   Plaintiff               )
                                           )
                      v.
                                           )      No: 11-CV-00579-GPM-DGW
  OFFICER JOHN CLEMONS, SGT.               )
  RICK, CAPT. BROWN, Unknown               )
  Supervisor, all of the UNION PACIFIC     )
  RAILROAD POLICE, and Unknown St.         )
  Clair County Booking Officer,            )
                                           )
                  Defendants               )

                               CERTIFICATE OF SERVICE

       I hereby certify that on September 21, 2012 I electronically filed

 Fed.R.Civ.P.12(b)(6) Motion to Dismiss or Strike on behalf of Ricky Davis with the

 Clerk of Court using the CM/ECF system which will send notification of such filing to

 the following:

 Thomas E. Jones                               Donnell Lewis Jr.
 THOMPSON COBURN LLP                           448 S. 39th St.
 PO Box 750                                    Alorton IL 62207
 Belleville IL 62222-0750


                                                 Respectfully submitted,
                                                 s/James C. Cook
                                                 James C. Cook
                                                 Walker and Williams, P.C.
                                                 4343 West Main Street
                                                 Belleville, Illinois 62226
                                                 (618) 277-1000
                                                 Fax: (618) 233-1637
                                                 Email: jcc@wawpc.net


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